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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

ATLANTIC RESEARCH MARKETING
SYSTEMS, INC.,
Plaintiff,

v. Civil Action No.: l:lO-cv- 1 0761 -WGY
TROY lNDUSTRlES, INC.

Defendant.

 

 

JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

Atlantic Research Marketing Systems, lnc. ("A.R.M.S.") and Troy Industries, Inc.
("Troy"), having settled and resolved all claims between them; IT IS HEREBY STIPULATED
AND AGREED, by and between the undersigned attorneys for the parties that all claims,
affirmative defenses and counterclaims asserted by A.R.M.S. and/or Troy in the above entitled
action be, and the same hereby are, dismissed With prejudice pursuant to Rule 4l(a)(l)(A)(ii) of
the Federal Rules of Civil Procedure, each party paying its own fees, costs and expenses. The

parties hereby waive all rights of appeal and/or rehearing

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Dated: July 3, 2012.
FOR PLAINTIFF

ATLANTIC RESEARCH MARKETING
SYSTEMS, INC.,

By its Attomeys

/s/ Paul J. Cronin
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FOR DEFENDANT
TROY INDUSTRIES, INC.

By its Attorneys

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CERTIFICATE OF SERVICE

I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-registered participants on July 3, 2012.

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/s/ Paul J. Cronin
Paul J. Cronin

